 4:12-cr-03057-JMG-CRZ            Doc # 43   Filed: 10/12/12      Page 1 of 1 - Page ID # 75




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                     4:12CR3057

      vs.
                                                         MEMORANDUM AND ORDER
DIWANCHA SHONTALL BROWN,
TERESA LIGGINS,

                     Defendants.


       Defendant Teresa Liggins has moved to continue the trial currently set for October 23,
2012. (Filing No. 42). As explained in the motion, the defendant's newly appointed counsel
needs additional time to review discovery and prepare for trial. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the motion should be
granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Liggins' motion to continue, (filing no. 42), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable John M. Gerrard, United States District Judge, in Courtroom 1, United
              States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on January 8, 2013, or as soon
              thereafter as the case may be called, for a duration of four (4) trial days. Jury
              selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant Liggins' motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, as to both defendants, the additional time arising as a result
              of the granting of the motion, the time between today’s date and January 8, 2013,
              shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because despite counsel’s due diligence,
              additional time is needed to adequately prepare this case for trial and failing to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(1), (h)(6) & (h)(7).

              October 12, 2012.
                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
